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AHM - Summary of Invoices Paid in the Preference Period
Vendor - AT CONFERENCE

Exhibit A
# Check Check "Cut" Check "Clear" Check Invoice Number Invoice Date Invoice Amount
Number Date Date Amount Paid
1 309298 05/24/07 06/01/07 $ 40,880.84 AT100031140407 05/02/07 $ 40,880.84
2 318939 07/02/07 07/11/07 48,577.51 AT100031140507 06/02/07 48,577.51
$ 89,458.35 $ 89,458.35

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